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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

FOREST RIVER FARMS, individually and on
behalf of all others similarly situated,

       Plaintiff,
                                                     Case No. 1:22-cv-00188
       v.
                                                     Hon. Martha M. Pacold
DEERE & CO. (d/b/a JOHN DEERE),

       Defendant.




 DEFENDANT DEERE & CO.’S UNOPPOSED MOTION FOR EXTENSION OF TIME
                TO ANSWER OR OTHERWISE PLEAD

       Defendant Deere & Co. (“Deere”), by and through its undersigned attorneys, respectfully

moves this Court for an order extending Deere’s time to answer or otherwise plead up to and

including April 11, 2022. In support of this Motion, Deere states as follows:

       1.      Plaintiff Forest River Farms (“Plaintiff”) filed its Complaint against Deere on or

about January 12, 2022.

       2.      Plaintiff filed an executed Summons on or about January 13, 2022, which was

returned executed by Plaintiff as to Deere on January 18, 2022. By rule, Deere’s answer is due

February 8, 2022.

       3.      On February 2, 2022, Deere’s counsel communicated with Plaintiff’s counsel

regarding the relief requested herein. Plaintiff’s counsel agreed to extend the time for Deere to

answer or otherwise plead by 60 days, or until April 11, 2022. Plaintiff’s counsel confirmed that

Plaintiff does not oppose this motion for extension of time to answer or otherwise plead.
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       4.      Deere now seeks an order from this Court extending Deere’s time to answer or

otherwise plead up to and including April 11, 2022, so that Deere may investigate the allegations

of the Complaint and prepare an appropriate response.

       5.      This is the first request for additional time sought by Deere in this action.

       6.      This extension is sought in good faith and not for the purposes of delay. Neither

party will be prejudiced by this extension.

       WHEREFORE, for the foregoing reasons, Defendant Deere & Co. respectfully requests

that this Court extend its time to answer or otherwise plead until April 11, 2022.




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Dated: February 3, 2022

                                         Respectfully submitted,

                                         /s/ Amanda B. Maslar

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                              CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was filed using the CM/ECF system, which
will effectuate service on all counsel of record.


                                              /s/ Amanda B. Maslar




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